Case 9:19-mj-08128-WM Document 1 Entered on FLSD Docket 04/09/2019 Page 1 of 18

                                                                       FILED
  2018R00919/Foster
                                                                      AFR 25 2919     .
                       UNITED STATES DISTRICT COU RT
                           DISTRICT OF NEW JERSEY
                                                                ATô:a: di--
                                                                          'L û :v
                                                                   wILL$
                                                                       tt&2AuàH
  UNITED STATES OF AM ERICA                 Hon.


             M.
                                            Crim .No.   a.fq-cg-ao (qG)
                                                   lF : tay-to y4
                                                          -




  CREAGHAN HARRY,                                       FILED BY                   D.C .
  LESTER STOCKEW ,and
  e LLIOT LO EW ENSTERN W
                                                              AF2 0S 2â1S
                              IN D I c T M E N T
                                                              qtjjjqj.jjjgs
                                                              S.D.OF FLA.-W .RB.
       The G rand Juzy in and for the DistrictofNew Jersey,sitting at ewar                ,


  charges:

             Ata11tim es relevantto this Indictm ent:

                            Individuals and Entitles

             a.    Defendant CREAGHAN H ARRY was a United States citiz.
                                                                      en

  w ho resided in Highland Beach,Florida.

             b.    D efendantLESTER STOCKEW w as a U nited SG tes citizen

  who resided in the countty ofColom bia.

             c.    DefendantELLIOT LOEW ENSTERN w as a United SG tes

  citizen who resided in Boca Raton,Florida.

             d.    PCS CC,LLC (*proca1lf),wasa Delaware Corporation and a
  callcentercompany thatpurported todya
                                     $,
                                        businessthroughoutLatin America,
  including in Colom bia.

              e.   Telehealth Doctor's Network,LLC (dba N ideo DoctorUSA'')
  w as a Delaware corporation and purported telem edicine com pany,doing

  business throughout the United States.
Case 9:19-mj-08128-WM Document 1 Entered on FLSD Docket 04/09/2019 Page 2 of 18

                      Telem ed Health Group,LLC (dba *M fordAnoc')(collectively,
 V :IAVideo DoctorUSA,theW ideo DoctorNetworr )was a Delaware
  corporation and ptzrported telem edicine com pany,doing business throughout

 the United States.

             g.       STOCKEW and HARRY owned,controlled,and/oroperated
 the follow ing entities,which were used in the schem e:

            E ntlty              Date ofIneorporatlon        Incorporatlon
                                                               Location

       Les Raphael,LLC             January 19,20 10          State ofFlorida

     NPC Consulting,LLC            October 10,2011           State ofFlorida

             SCPL                  Janue       15,2014     State ofW yom ing


        BestDialer,LLC              August 20,2014          State ofW yom ing




       Video DoctorU SA           Septem ber 22,20 14       State ofDelaw are



   Droneza Consulting Group           M ay 5,2016          Dom inican Republic



           M fordadoc                 M ay 27,2016          State ofDelaw are


             Procall                 June 13,20 16          State ofD elaw are




                                           2
Case 9:19-mj-08128-WM Document 1 Entered on FLSD Docket 04/09/2019 Page 3 of 18

                              The M edlcaa Prov am

             h.     The M edicare program w as a federalhealth care program
 providing benefits to persons who were 65 years orolder,or disabled.

 M edicr e was adm inistered by the Centers for M edicr e and M edicaid SeM ces

 CCM SD,a federalagency underthe United StatesDepnrtm entofHealth and
 Hum an SeM ces. Individuals who received benests under M edicare were

 referred to as M edicare ''beneûcinries.'

                    M edicr e w as a GFederalhealth care program ''as defined in

 Title 42,United StatesCode,Section 1320a-7b(9 and a lhealth care benefit
 progrnm'as defm ed in Title 18,United StatesCode,Section 24(b).
             j.     Medicarewas divided into fourpartswhich helped cover
 specific seM ces:hospitalinsurance(PartA),m edicalinsurance (PartB),
 Medicare Advantage (PartC),and prescription dnag beneEts (PartD).
              k.    Specl cally,M edicare PG B covered m edically necessary

  physician ofsce services and outpatientcare,including the ordering ofdurable

  m edicalequipm entCDM EO),such asOff-The-shelfCOTSD)anlde braces,knee
  braces,back braces,elbow braces,wristbraces,and hand braces (collectively
  Gbraces*). OTS bracesrequirem inim alself-adjustm entfor appropriate use
  and do notrequire experdse in trim m ing,bending,m olding,assem bling,or '

  custom izing to lk to the individual.
                     CM S contracted V t.IAvarious com panies to receive,

  adjudicate,process,and pay PartB claim s,including claim sforbraces. CM S
  also contracted M t.
                     IA the Program Safeguard Contractor,or ZPIC,w hich are

  conk actors thatinvestigate fraud,waste,and abuse. As partofan

  investigation,the Program Safeguard Contractor or ZPIC m ay conducta
                                             3
Case 9:19-mj-08128-WM Document 1 Entered on FLSD Docket 04/09/2019 Page 4 of 18

  clinicalreview ofm edicalrecords to ensure thatpaym entis m ade only for

  seM ces thatm eeta11M edicare coverage and m edicalnecessity requirem ents.

              m.    DM E com panies,physicians,and other health care providers

  thatprovided se> ices to M edicare beneûciariesw ere referred to as M edicare

  lproviders.f To participate in M edicare,prod ders w ere required tq subM tan

  application in w hich the providers av eed to abide by the policies and

  procedtzres,rules,and regulations governing reim bursem ent. To receive

  M edicare funds,enrolled providers,together V t.IAtheir authorized agents,

  em ployees,and contractors,w ere required to abide by allprovisions ofthe

  SocialSecurity Act,the regulations prom ulgated underthe Act,and applicable

  policies,procedures,rules,and regulations issued by CM S and its authorized

  agents and contractors. H ealth care providers w ere given and provided M tIA.




  online access to M edicare m anuals and services bulletins descdbing proper

  billing procedures and billing rules and regulations.

              n.    IfM edicare approved a provider's application,M edicare

  assigned the providera Medicare ProviderIdentification Num berCPIN'or
  lprovidernum beF). A health care providerwho was assigned a M edicare PIN
  and prod ded sew ices to benesciaries was able to subm itclaim s for

  reim bursementto the M edicarecontractor/carrierthatincluded the PIN
  assir ed to thatm edicalprovider. Paym ents under the M edicare program

  w ere often m ade directly to a provider ofthe goods or seM ces,rather than to a

  M edicare benelciazy. This pam entoccurred when the provider subm itted the

  claim to M edicare forpam ent,eitherdirectly or through a billing com pany.

              o.    Under M edicare PartB,claim s for D M K w ere required to be
  reasonable and m edically necesse    for the treatm entor diagnosis ofthe
                                          4
Case 9:19-mj-08128-WM Document 1 Entered on FLSD Docket 04/09/2019 Page 5 of 18


 Patient's illness orinjury. Medicareusestlaeterm lordering/referrinf
 provider to identt
                  'fy the physician or nurse practitioner who ordered,referred,

 orcertiûed an item or service reported in thatclaim .Indid duals ordering or

 referringtheseseM ceswererequiredtoiavetheappropriatetrnining,
 quatifications,and licenses to provide such services. A M edicare claim w as

 required to setforth,sm ong other things,the benehciary's nnm e,the date the

 seM ces were provided,the costofthe services,the nnm e and identification

 num ber ofthe physician or other health care provider who had ordered the

 services,and the nam e and idene cation num ber ofthe D M E provider that

 had provided the seM ces. Providers conveyed this inform ation to M edicare by

 subm itting claim s using billing codes and m odiEers.

             p.    To be reim bursed from M edicare for D M E,the claim had to

 be reasonable,m edically necessary,docum ented,and actually provided as

 represented to M edicare. M edicare would notpay claim s procured through

 ldckbacks and bribes.

             q.    M edicare regulations required health care providers enrolled

 V t.
    IIM edicare to m aintnin com plete and accurate patientm edicalrecords

 reflecting the m edicalassessm entand diagnoses oftheirpatients,as w ellas

 records docum endng actuale eaM entofthe patients to w hom services w ere

 provided and for whom claim s for paym entwere subm itted by the physician.

 M edicare requires com plete and accurate patientm edicalrecords so that

 M edicare m ay verify thatthe services were provided as described on the claim

 form . These records were required to be suf/cientto perm it M edicare, through

 its contractors,to review the appropriateness ofM edicare pam ents m ade to

 the health care provider.
                                         5
Case 9:19-mj-08128-WM Document 1 Entered on FLSD Docket 04/09/2019 Page 6 of 18

              r.    To receive reim bursem entfor a covered service from

 M edicare,a provider m ustsubm ita claim ,either electronically orusing a form

 (e.g.,a CM S-1500 form orUB-92),containing therequired inform ation
 appropriately identifying the provider,padent,and services rendered,nm ong

 otherthings.

                                   Telem edlclne

       2.     Telem edicine provided a m eans ofconnecting patients to health

 care providers by using telecom m unications technolor ,such as video or the

 telephone.

       3.     Telem edicine com panies hired physicians and otherhealth care

 providers to furnish telem edicine services to individuals. Telem edicine

 com panies typically paid health care providers a fee to conductconsultations

 V :IApatients. In order to generate revenue,telem edicine com panies typically

 either billed the M edicare progrnm orother health insurance prov am ,or

  offered a m em bership progrnm to custom ers.

              M edicare PartB covered expenses for specifed telehealth services

  ifcertain requirem entswere m et. Theserequirem entsincluded (a)thatthe
  benefkiG waslocated in a I-UI-aIarea (outside a M etropolitan StadsticalArea
  orin a rUZ'KIhealth professionalshortage area);(b)thatthe sew iceswere-
  delivered via an interactive audio and video telecom m unicadons system ;and (c)
  thatthe benesciaa w as ata practitioner's ofûce or a specified type ofm edical

  facility - notat a beneficio 's hom e - during the telehealth seN ice furnished

  by a rem ote practitioner.

              Som e telem edicine com panies offer m em bership progrnm s to

  patients who sign a contractfor telem edicine services,paid a setdollar nm ount
                                         6
Case 9:19-mj-08128-WM Document 1 Entered on FLSD Docket 04/09/2019 Page 7 of 18

 per m onth,and paid a fee each tim e the custom er has a telehealth encounter

 V t.h a physician.

                                    COUNT ONE
  (consplraey to Defraud the Unlted States and Pay and Receive Klckbacks)
                              D-1 CM AGR AN H AODY
                              D -2 LM TER STO C K M
                            D-3 ILLIOT LO EW ENSTEM
       6.    Paragraphs 1 through 5 ofthe GeneralM legations section ofthis

 Indictm entare re-alleged and incorporated by reference as though fully set

 forth herein.

             From in or around 2015,and continuing through in or around the

 present,in the DistdctofNew Jersey,and elsewhere,the defendants,

                                C REAG HA N H AR RY ,
                                LESTE R STO CKETT,
                                        and
                               ELLIOT LOEW ENSTERN
 did intentionally and know ingly,com bine,conspire,confederate,and agree

 V t.
    IAeach other,and others known and unknown to the Grand Jm y,to:

              a.      defraud the United States by cheating the U nited States

 governm entor any ofits agencies out ofm oney orproperty,or by im pairing,

 im peding,obstructing,and defeating through deceitfuland dishonestm eans,

 the lawfulgovem m entfunctions ofthe United States D epartm entofHealth and

  Hllm an Services in its adm inistration and oversightofM edicare;and

              b.      com m itcertnl
                                   'n offenses agninst the United States,thatis:

                   i.       to violate Title 42,United States Code,Section 1320a-

  7b(b)(1)(A)-(B),by knowingly and willfully soliciting and receiving rem uneration,
  specifically,ldckbacks and bribes,directly and indirectly,overtly and covertly,

  in return forreferring individuals forthe furnishing and arranging for the


                                           7
Case 9:19-mj-08128-WM Document 1 Entered on FLSD Docket 04/09/2019 Page 8 of 18

 ftr ishing ofany item and service forwhich pam ent m ay be m ade in whole or

 in partby M edicare,and in return for purchasing, leasing,ordering,and

 arranging for and recom m ending purchasing,leasing,and ordering any good,

 facility,service,and item for which pam entm ay be m ade in whole or in part

 under a Federalhealth care progrnm ;and

                 ii.      to violate Title 42,United States Code,Section 1320a-

 7b(b)(2)(A)-(B),by know ingly and willfully offering and paying remuneration,
 specifically,kickbacks and bribes,directly and indirectly,overtly and covertly,

 in return for referring individuals for the furnishing and arranging for the

 furnishing ofany item and se> ice forw hich pam entm ay be m ade in whole or

 in partby M edicare,and in rettzrn for purchasing,leasing,ordering,and

 arranging for and recom m ending purchasing,leasing,and ordering any good,

 facility,serd ce,and item for which pam entm ay be m ade in w hole or in part

 under a Federalhealth care program .

                            oblectofthe Consplraey
       8.    ltwas the objectofthe conspiracy fordefendants CREAGHAN
  HARRY,LESTER STO CKEW ,ELLIOT LO EW ENSTERN ,and other co-

  consplatorsto unlawfully enrich them selves by,nm ong otherthings: (a)
  subm itting or causing the subm ission offalse and fraudulentclaim s to

  Medicareforclaim s based on kickbacks and bribes;(b)subm itting orcausing
  the subm ission offalse and fraudulentclaim s to M edicare for services that

  were (i)m edically unnecessaa ;(ii)noteligible forM edicare reim bursem ent;
  and/or(iii)notprovided as represented;(c)coùcealing the subm ission offalse
  and fraudulentclaim s to M edicr e and the receiptand transfer ofthe proceeds

                                          8
Case 9:19-mj-08128-WM Document 1 Entered on FLSD Docket 04/09/2019 Page 9 of 18


 from the fraud;and (d)diverting proceeds ofthe fraud forthe personaluse and
 benestofthe defendants and their co-conspirators.

                      M anner and M eans ofthe Consplracy

       9.    The m anner and m eans by which the defendants and their co-

 conspirators soughtto accom plish the purpose ofthe conspiracy included,

 am ong others,the folloM ng:

              a.    HARRY and STOCKEW created,owned,and/orcontrolled
 the Video D octorNetwork.

              b.    HARRY and STOCKEW ,through the Video Doctor Network,

 recruited and hired health care providers,in the DistrictofNew Jersey and

  elsew here,to orderbraces forM edicare benesciaries.

              c.    HARRY,STO CKEW ,and LOEW ENSTERN solicited and

  received illegalkickbacks and bribes from Person A and others in exchange for

  the ordering,arranging for,and recom m ending the ordering ofbraces for

  M edicare benesciaries.

              d.    HARRY,STO CKEW ,LOEW ENSTERN caused the Video

  Doctor Network to receive M edicare beneEciau inform ation in order forVideo

  Doctor Netw ork health care providers to sign brace orders.

              e.     HARRY,STO CKEW ,and others facilitated ordering ofbraces

  by refrnining from charging a fee to M edicare beneficiaries or billing M edicare

  for purported telem edicine consultations conducted by the Video Doctor

  N etw ork health care providers.

              f.     HARRY,STO CKM T ,and others,through the Video Doctor

  Network,paid health care providers to order braces for M edicare benelk iaries

  thatwere procured through the paym entofldckbacks and bribes,m edically
                                      9
Case 9:19-mj-08128-WM Document 1 Entered on FLSD Docket 04/09/2019 Page 10 of 18

  unnecessary,ineligible forMedicarereimbursem ent,and/ornotprovided as
  represented.

              g.    HARRY,STOCKEW ,LOEW ENSTERN,and others

  k ansferred brace orders to DM E providers,Person A,recruiters,and others to

  supportfalse and fraudulentclnim s to M edicare thatw ere subm itted by D M E

  providers,located in the DistrictofNew Jersey and elsew here.

              h.    HARRY,STOCKEW ,LO EW ENSTERN,and others facilitated
  and concealed the schem e by repeatedly m nking,orcausing to be m ade,false

  and fraudulentrepresentations to investors,lawyers,doctors,and others,

  including thatbenesciaries enrolled in a m em bership progrnm and paid

  Affordr oc for the telem edicine consultations;M forM Doc w as Gprostable'and

  lcreating revenueofabout$10 naillion peryear,M tIA20% profitto the bottom
  line*;and thatthe Video Doctor Network,and its owners or investors,did not
  directly or indirectly receive m oney from DM E providers or DM E m arketers.

              i.    H ARRY,STO CKEW ,and others concealed and disgtzised the

  pam ent and receiptofillegalkickbacks and bribes by causing them to be paid

  to the Video Doctor Network indirectly through nom l ee com panies and bnnk

  accounfs,opened by HARRY,STOCKEW ,and others in nom inee nam es both

  in the United States and in foreign countries,including the Dom inican

   Republic. H ARRY,STOCKEW ,and others hid the existence ofthe foreign

   com panies and bank accounts by m aking,or causing to be m ade,false

   statem ents to financialin stitutions and falsely repordng that they and others

   had no infuence over foreign bank accounts.

               j.    HARRY,STOCKEW ,and othersalso concealed and
   disguised the schem e by entering into sham contracts and agreem ents,
                                          10
Case 9:19-mj-08128-WM Document 1 Entered on FLSD Docket 04/09/2019 Page 11 of 18

 labeling pam entsas *m arketinl orlbusiness process outsourcinf
 expendim res,and creating and m nintnining false and fraudulentinvoices.

                   HARRY,STOCKEW ,LOEW ENSTERN,and others falsified,

 fabricated,altered,and caused the falsï cation,fabrication,and alteration of

 DM E orders and other records allto supportclaim s for DM E thatwere

 obtained through illegalldckbacks and bribes,m edically unnecessary,not

 eligibleforMedicare reimbursement,and/ornotprovided asrepresented.
                    HARRY,STOCKEW ,LOEW ENSTERN,and others caused the

  DM E providers to subm it,and cause the subm ission of,an nm ountin excess of

  approxim ately $424 m illion forDM E orders thatwere obtained through illegal
  Z ckbacks and bribes,m edically unnecesse ,noteligible for M edicare

  reim bursem ent,and/or notprovided as represented. M edicare paid these
  DM E providers approxim ately in excess of$200 m illion fortheseclaim s.

                                    O vert A cts

        10. In furtherance ofthe conspiracy and in order to accom pEsh the

  objectsthereof,DefendantsHARRY,STOCKEW ,LOEW ENSTERN,and theirco-
  conspirators com m itted or caused the com m ission ofthe follow ing overtacts in

  the DistrictofNew Jersey and elsewhere:
        a.    In or around M arch 2016,HARRY,STO CKEW ,LOEW ENSTERN.

  and others solicited and received an illegalkickback and bribe from Person A

  and others in the form ofa w ire to Video D octor USA'S bank accountending in

  x6514 in the approxim ate am ountof$71,200.
        b.    In or around August2016,HARRY,STOCKEW ,LO EW ENSTERN ,

   and others solicited and received an illegalldckback and bribe from Person A

                                          11
Case 9:19-mj-08128-WM Document 1 Entered on FLSD Docket 04/09/2019 Page 12 of 18

  and others in the fo= ofa w irè to Latin Am erican CallCenters'bank account

  ending in x5414 in the approxim ateam ountof$120,595.
        11. In or around M ay 2017,HARRY,STOCKEW ,LOEW ENSTERN,and

  others solicited and received an illegalkickback and bribe from Person A and

  others in the fo= ofa wire to Procall's bank accountending in x5289 in the

  approzm ate nm ountof$149,080.
        12. In or around M arch 2019,HARRY,STO CKEW ,and

  LOEW ENSTERN solicited from Person A,who w as located in the D istrictofNew

  Jersey and elsewhere,and received an illegalkickback and bribe in the fo= of

  an internationalw ire to Procall's bank accountending in x5289 in the

  approxim ate nm ountof$171,501.

  (A11in dolation ofTitle 18,United StatesCode,Section 371.)
                         Co u N Ts TW o TH R O U GH FM
                (Solicitingand Receiving ofHealth Care Kickbacks)
                             D -1 CREAGHAN HARRY
                             D -2 LESTER STOCKEW
                           D-3 ELLIOT LO EW ENSTERN

        13. Paragraphs 1 through 5,and 9 O ough 12,ofthis Indictm entare

  re-alleged and incorporated by reference as though fully set forth herein.

        14. On or aboutthe dates sçtforth bçlow,in the D istrictofNew

  Jersey,and elsew here,the defendants,

                                CREAGHAN HARRY,
                                LESTER STO CKETT,
                                        and
                              E LLIOT LO EW EN STE RN

  did knowingly and willfully solicitand receiverem lJneration (including
   kickbacks and bribes),directly and indirectly,overtly and covertly,in cash and

                                         12
Case 9:19-mj-08128-WM Document 1 Entered on FLSD Docket 04/09/2019 Page 13 of 18

  in kind,including by wire,as setforth below ,in rettu'n for purchasing,leasing,

  ordering,and arranging for orrecom m ending purchasing,leasing,or ordering

  any good,facility,service,or item forw hich paym entm ay be m ade in whole or

  in partby M edicare,as setforth below :

                                Orlglnatlng
   C ount          D ate                                 Payee         A m ount
                                  A ccount

     2         M arch 7,2016     Com pany A       Video DoctorUSA      $71,200
     3      August31,2016        Com pany A       Latin Am erican CV   $120,595
                                                         Centers
     4         M ay 11,2017      Com pany A .            Procall       $149,080
     5         March 6,2019      Com pany A              Procall       $171,501

  (A11in violation of42 U.S.C.! 1320a-7b(b)(1)(B)and 18 U.S.C.g 2.)
                                    C O UN T SG
                      (Conspiracy to Com m itM oney Laundering)
                               D-1 CREAGHAN HARRY
                               D -2 LESTER STO C KEW

         15. Paragraphs 1 through 5,and 9 through 12 ofthis Indictm ent are

  re-alleged and incorporated by reference as though ftzlly setforth herein.

         16.    From in or around M arch 2016 through in or around the present,

  in the DistrictofNew Jersey,and elsewhere,the defendants,

                                C REA G H AN H AR RY ,
                                         and
                                LESTKR STO CKETT
  clid know ingly,com bine,conspire,confederate,and agree with each other,and

  others known and unknow n,to com m itcertain offenses againstthe United

   States in violation ofTitle 18,United States Code,Sections 1956,to w it:




                                         13
Case 9:19-mj-08128-WM Document 1 Entered on FLSD Docket 04/09/2019 Page 14 of 18

              a.    to know ingly conductand attem ptto conductfm ancial

  transactions affecting interstate and foreign com m erce,which transactions

  hw olved proceeds ofspecz ed unlawfulactivity,thatis,a conspiracy to defraud

  the United States and pay and receive ldckbacks relating to a health care

  benefk program ,thatis M edicare,knowing thatthe transactions w ere designed

  in w hole or in partto concealand disguise the nature,location,sotzrce,

  ownership,and controlofthe proceeds ofspecised unlawfulactivity,and that

  w hile conduce g and attem pting to conduct such financialtransactions,H lew

  thatthe property involved in the financialtransactions represented the

  Proceeds ofsom e form ofunlaw fulactivity,in violatio'
                                                       n ofTitle 18, United

  StatesCode,Section 1956(a)(1)(B)(i);
              b.    to transport,transm itand transfer and attem ptto transport,

  transm it and transfer a m onetary instrum entand funds from a place in the

  United States to and through a place outside the United States V t.
                                                                    IAthe intent

  to prom ote the cmv ing on ofspecified unlaw fulactivity,in violation ofTitle 18,

  United StatesCode,Section 1956(a)(2)(A);
                    to transport,transe t,and transfer,and attem ptto

  transport,transm it,and transfera m onete    instrum entor funds involving the

  proceeds ofspeciEed unlawfulacdvity,thatis,a conspiracy to defraud the -
   United States and pay and receive ldckbacks relating to a health care beneEt

   progrnm ,thatis M edicare,from a place in the United States to or through a

   place outside the United States,knowing that the funds involved in the

   transportation,transm ission,and transferrepresented the proceeds ofsom e

   form ofunlaw fulactivity and knowing that such transportation,transm ission,

   and transfer was designed in whole orin partto concealand disguise the
                                         14
Case 9:19-mj-08128-WM Document 1 Entered on FLSD Docket 04/09/2019 Page 15 of 18

  nam re,location,source,ow nership,and controlofthe proceeds ofspecified

  llnlawfulactivity,in violation ofTitle 18,United States Code,Section

  1956(a)(2)(B)(i).
  (M in violation ofTitle 18,United StatesCode,Section 1956(h).)

                           FO R FKITU M   A LLE GA TIO NS

   (18 U.S.C.j 981(a)(1)(C)nnd 28 U.S.C.j 2461;18 U.S.C.jj982(a)(1)nnd (7)-
                                Crim inalForfeim re)
        17. The allegations contained in Counts 1-6 of this Indictm ent are re-

  alleged and incorporated by reference as though fully set forth herein for the

  purpose ofalle#ng forfeiture againstdefendants,
                               CREAGHAN HARRY,
                               LESTER STO CKETT,
                                       and
                              ELLIOT LOEW EN STERN
  pursuant to Title 18,United States Code,Sections 981 and 982,and Title 28,

  United States Code,Section 2461.

        18. Ptzrsuant to Title 18, United States Code, Section 981(a)(1)(C),
  together V t.
              IZTitle 28,United States Code,Section 2461,upon being convicted

  of the crim e charged irz Count 1 of this Indictm ent,the convicted defendants

  shallforfeitto the United States any property,realor personal,w hich constitutes

  or is derived from proceeds traceable to the com M ssion ofthe offense.

         19. Pursuant to Title 18,United States Code,Section 982(a)(7),upon
  being convicted ofthe crim es charged in Counts 1 through 5 ofthis Indictm ent,

  the convicted defendants shallforfeitto the United States any property,realor

   personal,thatconstitutes or is derived,directly orindirectly,from gross proceeds

   traceable to the com m ission ofthe offense.

                                          15
Case 9:19-mj-08128-WM Document 1 Entered on FLSD Docket 04/09/2019 Page 16 of 18

       20. Pursuant to Title 18,United States Code,Section 982(a)(1),upon
 being convicted ofthe crim e charged in Count6 ofthis Superseding Indictm ent,

 the convicted defendants shallfodeit to the United States any property, realor

 personal,involved in the offense,or any property traceable to such property.

                           Substim te Assets Provision

       21. Ifany ofthe above-described fodeitable property,as a resuk ofany

 actor om ission ofthe defendant:

          a. cannotbe located upon the exercise ofdue diligence;

          b. has been transferred or sold to,or deposited w ith,a third person;

          c. hasbeen placed beyond thejurisdiction ofthe Court;
          d. has been substnntially dim inished in value;or

          e. has been com m ingled V :II other property w hich cannot be

             subdivided without difûculty;

  it is the intent ofthe United States,pursuant to Title 21,United States Code,

  Secdon 853(p),asincorporated by Title 18 United States Code,Section 982(b),
  to seek fodeiture of any other property of defendants CREAGHAN HARRY,
  LESTER STO CKETT, and ELLIOT LOEW ENSTERN up to the value of the

  forfeitable property described above.




                                          16
Case 9:19-mj-08128-WM Document 1 Entered on FLSD Docket 04/09/2019 Page 17 of 18



 CRM G CA PENIT
 United States Attorney


 JO SEPH BEEM STERBOER
 Chief,Healthcare Fraud Unit
 Crim inal'Division,Fraud Section


   C    FO STER
 Ac ' Assistnnt Chief
 C ' 'nalDivision,Fraud Section




                                      17
Case 9:19-mj-08128-WM Document 1 Entered on FLSD Docket 04/09/2019 Page 18 of 18




                            1
                            m


                            a
                            v           Q


                            :
                            1         k                          '



          t    <            a         a
           y   o            a         a                                            .      .       :
                                                                                                    . J

          ùo œ
             w ;            x         .                                                               .   (
          y : x             wx      : u
          .,
           M%* 1             w. o
                                x y
                                  u                     g ;Omy l x1 : ê
                                                        ;:
                                                        x o Z R1p 4 .A
          x; x                      e t                        : jo
                                                               O    m
                                                                    kc
                                                                     lo
                                                                      q
          ;- >. :
                O       y   o       >
                                    m   &                        > y
                                                                   6Z
                                                                     O
                                                                     *
                                                                     - N''
                                                                          .-



                                                        OX
                                                        o ;j         m w -.$
      x , o <
            e               s
                            o       s    .                       '   O
                                                                     n
                                                                     u
                                                                       < $o
                                                                     < oRo
      1 z
        *.%
          -
          Ne.
      m * % Q
      q
                            - o
                            œ
                            m
                              a
                              e
                              >
                                                        iI
                                                         an
                                                          j
                                                          C
                                                        O o a
                                                                     = 3 Y C9
                                                                          6 >*
                                                                          < -
                                                                          .
                                                                               '       '' '

      D ; u- x
             1              s
                            j       -        é      u
                                                    o
                                                             N
                                                             R
                                                                      .

                                                                                                  )'..
          .K
           .      :          .               x      u                                         .   r. :,
                                                   jo
          >       >         /
                            -                ;
                                             .      o
                                                    x
                                                    o
                                             <     a



                             l
                             $
                             !
